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1      CENTER FOR DISABILITY ACCESS
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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10
       Andres Gomez,                            Case No.
11
                 Plaintiff,
12                                              Complaint for Damages and
         v.                                     Injunctive Relief for Violations
13                                              of: American’s With Disabilities
       Mont St. John Cellars, Inc., a           Act; Unruh Civil Rights Act
14     California Corporation, dba
       Madonna Estate Winery                    NOT RELATING TO A
15                                              CONSTRUCTION-RELATED
                 Defendant.                     BARRIER AS DEFINED IN CAL.
16                                              CIV. CODE § 55.3

17
18         Plaintiff Andres Gomez (“Plaintiff”) complains of Mont St. John Cellars,

19   Inc., a California Corporation, dba Madonna Estate Winery; (“Defendant”),

20   and alleges as follows:

21
22     PARTIES:

23     1. Plaintiff is a visually-impaired individual and a member of a protected

24   class of persons under the Americans with Disabilities Act. Plaintiff Talkback

25   or similar software to navigate websites and applications on electronic devices.

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1    Plaintiff is legally blind1 and cannot use an electronic device without
2    assistance of screen-reader software (“SRS”).
3        2. Defendant Mont St. John Cellars, Inc., a California Corporation (“Mont
4    St. John Cellars, Inc.”), owned or operated Madonna Estate Winery located in
5    Napa County, California, in March 2021 and August 2021.
6        3. Defendant Mont St. John Cellars, Inc. owns or operates Madonna Estate
7    Winery located in Napa County, California, currently.
8        4. Defendant Mont St. John Cellars, Inc. owned or operated Madonna
9    Estate Winery website, with a root domain of: https://madonnaestate.com/,
10   and all related domains, sub-domains and/or content contained within it,
11   (“Website”) in March 2021 and August 2021.
12       5. Defendant Mont St. John Cellars, Inc. owns or operates Madonna Estate
13   Winery website currently.
14       6. Plaintiff does not know the true names of Defendants, their business
15   capacities, their ownership connection to the property and business, or their
16   relative responsibilities in causing the access violations herein complained of,
17   and alleges a joint venture and common enterprise by all such Defendants.
18   Plaintiff is informed and believes that each of the Defendants herein, is
19   responsible in some capacity for the events herein alleged or is a necessary
20   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
21   the true names, capacities, connections, and responsibilities of the Defendants
22   are ascertained.
23
24
25
26   1
      Plaintiff uses the terms “visually-impaired” or “blind” interchangeably to
27   refer to individuals, including himself, who meet the legal definition of
28   blindness. (visual acuity of 20/200 or worse.) Some individuals who meet
     these criteria have no vision, others have limited vision.

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1    JURISDICTION & VENUE:
2      7. The Court has subject matter jurisdiction over the action pursuant to 28
3    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
4    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”)
5      8. This court has supplemental jurisdiction over Plaintiff’s non-federal
6    claims pursuant to 28 U.S.C. § 1367 because Plaintiff’s Unruh claims are
7    formed from the same case and/or controversy and are related to Plaintiff’s
8    ADA claims. A violation of the ADA is a violation of Unruh. (Cal. Code §51(f).
9      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b). Defendant
10   is subject to personal jurisdiction in this District due to its business contacts
11   with the District, and a substantial portion of the complained of conduct
12   occurred in this District.
13
14     FACTUAL ALLEGATIONS:
15     10. Plaintiff is a legally blind person and a member of a protected class
16   under the ADA. Plaintiff is proficient with and uses SRS to access the internet
17   and read internet content on computers and mobile devices.
18     11. Plaintiff cannot use a computer without the assistance of screen reader
19   software. (“SRS”).
20     12. Mont St. John Cellars, Inc. operates privileges, goods or services out of a
21   physical location in California. These services are open to the public, places of
22   public accommodation, and business establishments.
23     13. The Website is a nexus between Mont St. John Cellars, Inc. customers
24   and the terrestrial based privileges, goods or services offered by Mont St. John
25   Cellars, Inc.
26     14. Mont St. John Cellars, Inc. offers websites and digital booking as some
27   of the facilities, privileges, and advantages offered by Defendants to patrons
28   of the Mont St. John Cellars, Inc. in connection with their patronage at the


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1    Mont St. John Cellars, Inc.
2      15. Among the services offered include: details about the wine and the
3    Mont St. John Cellars, Inc. itself, location and contact information; Mont St.
4    John Cellars, Inc. policies; information about wine, deals and promotions
5    without any ambiguity as to the amenities that would be available to the
6    patron.
7      16. Plaintiff was a prospective customer who wished to access Defendant’s
8    goods and services of the Mont St. John Cellars, Inc.
9      17. Plaintiff visited the Website in March 2021 and August 2021 in search
10   of a winery/wine vineyard to potentially visit this location to purchase wine or
11   do some wine tasting or potentially make my own wine since we were in the
12   California area and potentially wanted to go to Northern California for this
13   experience since I have family who lives in Northern California.
14     18. When Plaintiff attempted to navigate the Website, Plaintiff encountered
15   numerous accessibility design faults that prevented him from navigating the
16   site successfully using SRS. Investigation into his experience revealed barriers,
17   including, but not limited to:
18                   a. Images on the website lack a text equivalent readable by
19                       SRS.
20                   b. The visualization of the webpage contains impermissibly
21                       low contrast enabling differentiation of background and
22                       foreground elements.
23     19. These inaccessible elements rendered the ostensibly “accessible”
24   elements inaccessible as a result of difficulty and confusion navigating the
25   numerous inaccessible elements.
26     20. Currently, the defendants either fail to provide an accessible website or
27   Defendants have failed to maintain in working and useable conditions those
28   website features required to provide ready access to persons with disabilities.


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1      21. Despite multiple attempts to access the Website using Plaintiff’s
2    computer and mobile device, Plaintiff has been denied the full use and
3    enjoyment of the facilities, goods and services offered by Defendants as a
4    result of the accessibility barriers on the Website.
5      22. Plaintiff personally encountered accessibility barriers and has actual
6    knowledge of them.
7      23. By failing to provide an accessible website, the defendants denied
8    Plaintiff full and equal access to the facilities privileges or advantages offered
9    to their customers.
10     24. Plaintiff has been deterred from returning to the Website as a result of
11   these prior experiences.
12     25. The failure to provide accessible facilities created difficulty and
13   discomfort for the Plaintiff.
14     26. If the website had been constructed equally accessible to all individuals,
15   Plaintiff would have been able to navigate the Website and find information on
16   wine.
17     27. Additionally, Plaintiff is a tester in this litigation and seeks future
18   compliance with all federal and state laws. Plaintiff will return to the Website
19   to avail himself of its goods and/or services and to determine compliance with
20   the disability access laws once it is represented to him that the Mont St. John
21   Cellars, Inc. and Website are accessible.
22     28. Plaintiff is currently deterred from doing so because of Plaintiff’s
23   knowledge of the existing barriers and uncertainty about the existence of yet
24   other barriers on the Website. If the barriers are not removed, Plaintiff will
25   face unlawful and discriminatory barriers again.
26     29. The barriers identified above violate easily accessible, well-established
27   industry standard guidelines for making websites accessible to people with
28   visual-impairments that use SRS to access websites. Given the prevalence of


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1    websites that have implemented these standards and created accessible
2    websites, it is readily achievable to construct an accessible website without
3    undue burden on the Mont St. John Cellars, Inc. or a fundamental alteration of
4    the purpose of the Website.
5      30. Compliance with W3C Web Content Accessibility Guidelines
6    (“WCAG”) 2.0 AA standards are a viable remedy for these deficiencies and a
7    standard that has been adopted by California courts for website accessibility.
8      31. It’s been established that failure to remove these inaccessible conditions
9    violates the ADA and California law and requiring compliance with industry
10   access standards is a remedy available to the plaintiff.
11     32. The Website was intentionally designed, and based on information and
12   belief, it is the Defendants’, policy and practice to deny Plaintiff access to the
13   Website, and as a result, denies the goods and services that are otherwise
14   available to patrons of the Mont St. John Cellars, Inc.
15     33. Due to the failure to construct and operate the website in line with
16   industry standards, Plaintiff has been denied equal access to Defendant’s
17   Mont St. John Cellars, Inc. and the various goods, services, privileges,
18   opportunities and benefits offered to the public by the Mont St. John Cellars,
19   Inc.
20     34. Given the nature of the barriers and violations alleged herein, the
21   plaintiff alleges, on information and belief, that there are other violations and
22   barriers on the website, and/or at the Mont St. John Cellars, Inc., that relate to
23   his disability. In addition to the barriers he personally encountered, Plaintiff
24   intends to seek removal of all barriers on the Website that relate to his
25   disability. See Doran v. 7-Eleven (9th Cir. 2008) 524 F.3d 1034 (holding that
26   once a plaintiff encounters one barrier, they can sue to have all barriers that
27   relate to their disability removed regardless of whether they personally
28   encountered the barrier).


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1      35. Plaintiff will amend the complaint, to provide further notice regarding
2    the scope of the additional demanded remediation in the event additional
3    barriers are uncovered through discovery. However, please be on notice that
4    the plaintiff seeks to have all barriers related to his disability remedied.
5
6    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
7    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
8    Defendants.) (42 U.S.C. section 12101, et seq.)
9      36. Plaintiff re-pleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint. The Mont St. John Cellars, Inc. is a public accommodation with the
12   definition of Title III of the ADA, 42 USC § 12181.
13     37. The website provided by the Defendant is a service, privilege or
14   advantage and extension of Mont St. John Cellars, Inc. physical presence and
15   terrestrial services.
16     38. When a business provides services such as a website, it must provide an
17   accessible website.
18     39. Here, an accessible website has not been provided. A failure to provide
19   an accessible website is unlawful discrimination against persons with
20   disabilities.
21     40. Under the ADA, it is an act of discrimination to fail to ensure that the
22   privileges, advantages, accommodations, facilities, goods and services of any
23   place of public accommodation is offered on a full and equal basis by anyone
24   who owns, leases, or operates a place of public accommodation. See: 42 U.S.C.
25   § 12182(a). Discrimination is defined, inter alia, as follows: “A failure to make
26   reasonable modifications in policies, practices, or procedures, when such
27   modifications are necessary to afford goods, services, facilities, privileges,
28   advantages, or accommodations to individuals with disabilities, unless the


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1    accommodation would work a fundamental alteration of those services and
2    facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).”
3      41. Here, the failure to ensure that the accessible facilities were available
4    and ready to be used by the plaintiff is a violation of the law.
5      42. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights
6    set forth and incorporated therein, Plaintiff requests relief as set forth below.
7
8    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
9    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10   Code § 51-53.)
11     43. Plaintiff repleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14   that persons with disabilities are entitled to full and equal accommodations,
15   advantages, facilities, privileges, or services in all business establishment of
16   every kind whatsoever within the jurisdiction of the State of California. Cal.
17   Civ. Code §51(b).
18     44. The Unruh Act provides that a violation of the ADA is a violation of the
19   Unruh Act. Cal. Civ. Code § 51(f).
20     45. Defendants’ acts and omissions, as herein alleged, have violated the
21   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
22   rights to full and equal use of the accommodations, advantages, facilities,
23   privileges, or services offered.
24     46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25   discomfort or embarrassment for the plaintiff, the defendants are also each
26   responsible for statutory damages, i.e., a civil penalty. Cal. Civ. Code §
27   55.56(a)-(c).
28     47. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights


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1    set forth and incorporated therein, Plaintiff requests relief as set forth below.
2
3             PRAYER:
4             Wherefore, Plaintiff prays that this Court award damages and provide
5    relief as follows:
6          1. A Declaratory Judgment that at the commencement of this action
7    Defendants were in violation of the requirements of the ADA due to
8    Defendants’ failures to take action to ensure that its Website was fully
9    accessible to and independently usable by blind and visually-impaired
10   individuals.
11         2. For equitable nominal damages for violation of civil rights. See
12   Uzuegbunam v. Preczewski, 141 S.Ct. 792 (2021) and any other equitable
13   relief the Court finds appropriate.
14         3. Pursuant to 42 U.S.C § 12181, a preliminary and permanent injunction
15   enjoining Defendants from violating the ADA with respect to its website.
16         4. Damages under the Unruh Civil Rights Act § 512, which provides for
17   actual damages and a statutory minimum of $4,000 for each offense.
18         5. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
19   to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
20
21   Dated: January 30, 2021             CENTER FOR DISABILITY ACCESS
22
23
                                         By: ______________________________
24
                                         Amanda Seabock, Esq.
25                                       Attorney for Plaintiff
26
     2
27       Note: the plaintiff is not invoking section 55 of the California Civil Code and
28   is not seeking injunctive relief under the Disabled Persons Act at all.


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